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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

 MEDISIM, LTD                                 Civil Action No.: 10-cv-2463 (SAS) (RLE)

               Plaintiff - Counterdefendant
        v.
                                              Redacted Version
 BESTMED, LLC

               Defendant - Counterclaimant




  BESTMED, LLC'S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S
 MOTION TO DISQUALIFY BESTMED'S PROPOSED EXPERT, JACK GOLDBERG,
  OR, IN THE ALTERNATIVE, STRIKE PORTIONS OF GOLDBERG'S REPORTS
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I.     Introduction

       The patent in suit relates to a device and method for measuring a person's temperature at a

measurement site, calculating the temperature of the body under the skin, and then calculating the

person's pulmonary artery temperature based on the first calculation. The '668 Patent purports to

do so through use of sensor components known as thermistors, which produce electronic signals

based on heat energy applied thereto. The signals are processed with a processing unit according

to algorithms programmed thereon. BestMed's technical expert, Mr. Jack Goldberg, is more than

qualified to offer his opinions to assist the trier of fact on the aforementioned technology.

       Medisim's attempt to disqualify Goldberg and exclude portions of his well-reasoned

report is disingenuous. Medisim's Motion is merely a reaction to BestMed's indication to the

Court that it would move to strike the deficient reports of Medisim's experts, Dr. Lipson and Dr.

Keegan. Medisim's intent is to distract from its own failure to submit proper expert reports. Such

tactics should not be condoned in any way. Indeed, Medisim's arguments amount to mere

displeasure with Goldberg's results, while raising no legitimate issues concerning Goldberg's

methodology or analysis. Thus, Goldberg's opinions fully satisfy the requirements of Fed.R.Evid.

702. BestMed respectfully requests that this Court deny Medisim's Motion in its entirety.

II.    Goldberg is Qualified to Testify on Relevant Technology

       Medisim's challenge to Goldberg's credentials is ludicrous. Any review of Goldberg's

curriculum vitae reveals decades of experience in thermometry and medical devices, which

continue today. Goldberg's experience far surpasses Medisim's position on what constitutes a

person of ordinary skill in the art: "a person having at least an undergraduate degree in

engineering or physics, and at least 3 years of experience in digital thermometry." Ex. 1. His

skills and background in thermometry also greatly exceed those of Medisim's expert, Dr. Lipson,

who is but an academician with little or no actual experience in the subject technical field.


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       A.      Goldberg's Education And Work Experience Afford Him The Requisite
               Specialized Knowledge and Expertise In The Relevant Field

       A witness may be qualified as an expert if he possesses the necessary knowledge, skill,

experience, or education. Fed.R.Evid. 702. Goldberg's education and work experience very

clearly establish him as qualified to testify as an expert in thermometry, including electronic

components, and the processing of generated electronic signals through the programmed

computer processing unit that controls the thermometer.

       Goldberg attended and graduated from the Massachusetts Institute of Technology

("M.I.T.") in 1973 with a Bachelor's degree in electrical engineering and computer science. Doc.

61, Ex. A at 94. He also obtained a Master's degree in electrical engineering and computer

science, also from M.I.T, in 1978. Id. Indeed, Goldberg's M.I.T. Masters thesis was directed to

firmware analysis and source code development. Goldberg Decl. ¶12. Goldberg was further

selected to be a Senior Member of the Institute of Electrical and Electronics Engineers, and is an

elected member of the Medicine and Biology, Signal Processing group. Doc. 61, Ex. A at 94.

       Beyond his education, Goldberg's hands-on work experience further undoubtedly

qualifies him as an expert in the relevant technology. Goldberg worked for over a decade as an

engineer, project leader, an Engineering Manager, and later a Principal Engineer at IVAC

Corporation. IVAC was a wholly owned subsidiary of Eli Lilly and Co. specializing in medical

devices such as thermometers, blood pressure devices, and infusers. Goldberg developed medical

products such as digital thermometers. Goldberg Decl. ¶4. Goldberg served as "technical leader

in development of new infrared clinical thermometer and devised unique calibration methods."

Doc. 61, Ex. A at 93. Indeed, Goldberg led his team to the development of IVAC's first infrared

digital thermometer, the Core-Check model 2090, as well as the development of IVAC's next

generation infrared thermometer. Goldberg Decl. ¶4. Goldberg also managed engineers

responsible for IVAC's entire line of thermometers, including conductive thermometers. Id. As a

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result of Goldberg's real-world experience and inventive contributions to IVAC's digital

thermometers, he and a colleague were awarded U.S. Patent 5,150,969. Ex. 2.

       Development of IVAC's thermometers involved the study and knowledge of human

physiology, clinical testing, computer source code programming and circuit design. Goldberg

Decl. ¶5. For example, Goldberg researched and developed algorithms for rapid detection of

temperature with a conductive thermometer. He researched various methods of measuring

temperature and developed manufacturing and testing apparatus for calibrating thermometers,

including water bath testing and black body radiation testing. Id.

       Medisim's characterization of Goldberg's direct and extensive experience in thermometry

as "tangential" is pure sophistry. Goldberg's curriculum vitae highlights his impressive education

and years of actual experience. By contrast, Medisim's technical expert, Dr. Lipson, fails to

mention in his CV any experience in thermometry. Lipson offers no detail about what, if any,

actual experience he has with thermometry other than a vague reference to consultant work on

"patient thermometry" at IVAC; the same company where Goldberg was an Engineering

Manager and Principal Engineer. Lipson fails to explain what work he actually did, if any.

       B.      Goldberg's Work and Knowledge in Thermometry, Medical Devices and
               Temperature Sensing Is Current

       Goldberg continues his work in thermometry, medical devices and temperature sensing

by way of product development projects and litigation support. Goldberg Decl. ¶6. Medisim's

claim that Goldberg's experience in the field of thermometry is "stale" is specious.

       Medisim absurdly asserts that Goldberg is "principally a professional expert witness."

Goldberg's experience includes a plethora of product design projects over the past 15 years and

includes "research and development for various medical, scientific and audio instrument

manufacturers...." Several of such projects relate to thermometry and temperature sensing

devices. Doc. 61, Ex. A at 92. Goldberg recently spearheaded several efforts in developing new

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digital thermometers.1 For example, Goldberg recently worked with a corporation to develop a

new conductive digital thermometer. Goldberg, and corporation personnel, analyzed various

thermometer and temperature measurement technologies and created strategy for development of

a noninfringing design-around digital conductive thermometer. Goldberg Decl. ¶11.

       In addition to his product development work, from 2002 to 2005, Goldberg served as a

technical expert in Exergen Corp. v. S.A.A.T. LTD. et al. CA No. 01-11306-RGL (D. Mass.).

This litigation involved infrared electronic thermometer technology and signal processing, and

included an assertion of infringement of U.S. Patent 6,292,685.2 Goldberg analyzed the '685

Patent, and studied prior art in the area of both infrared and conductive thermometry. Goldberg

Decl. ¶7. He filed multiple expert reports and testified at trial about the relevant technology on

behalf of S.A.A.T. Id. These efforts resulted in a final judgment of noninfringement and

invalidity. Exergen Corp. v. Wal-Mart Stores, Inc., 575 F. 3d 1312 (Fed.Cir. 2009).

       Goldberg's experience further includes numerous other litigation support projects

concerning thermometry and temperature sensing. Doc. 61, Ex. A at 96-101 and Goldberg Decl.,

Ex. A. Recently, Goldberg conducted a survey of conductive thermometry prior art, as well as

preliminary noninfringement and invalidity analyses which included analysis of the

thermometer and the uncovered thermometer patents. Goldberg Decl. ¶9.

       C.        Goldberg Possesses the Skill and Knowledge to Independently Analyze the
                 FHT-1 Source Code

       Medisim sheepishly argues in a footnote that Goldberg is not qualified to analyze the

source code controlling the FHT-1 device. Doc. 60 at 11, n.5. Again, Medisim's claims fall flat.

       Goldberg has substantial experience "with embedded firmware programming, LabView,



       1
           Details regarding such projects are confidential. Goldberg Decl. ¶11.
       2
           The '685 Patent is incorporated by reference into the patent in suit.

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database, MatLab, and Visual Basic." Doc. 61, Ex. A at 92. The computer language C, which is

the language used with the FHT-1 source code, is one of the most common computer languages,

and was developed in the early 1970's. See, http://en.wikipedia.org/wiki/

C_%28programming_language%29#Related_languages. Goldberg has programmed in C and

other languages for the past 20 years. Goldberg Decl. ¶13. Goldberg took classes in C, has

programmed extensively in C, can read and analyze C, as well as various computer languages

based on C. Id. Indeed, his experience in the aforementioned higher level programming

languages require interfacing with C. See e.g., http://en.wikipedia.org/wiki/MATLAB.

       In his professional career, Goldberg wrote software source code for numerous devices,

including electronic thermometers with a programmed microprocessor. Goldberg Decl. ¶14. In

fact, Goldberg conducted software upgrades, re-wrote microprocessor code, and analyzed

software source code in several programming languages. Id at ¶12. Goldberg's experience

extends past writing software code to managing entire software development teams. Id. To this

day, Goldberg continues to write source code and manage firmware development on control

devices. Moreover, as stated, Goldberg's M.I.T. Master's thesis involved firmware analysis. Id.

Goldberg's practical experience also includes analyzing device-controlling source code in several

litigation projects. Goldberg Decl., Ex. A at 3-4. For example, in the S.A.A.T. litigation supra,

Goldberg based his noninfringement conclusion on review of the source code controlling the

accused thermometers. Goldberg Decl. ¶17. Accordingly, Goldberg's analysis of the FHT-1

source code is backed with an experience-filled history of analyzing source code.

       Goldberg's past and continuing experience provides him with vast knowledge of all types

of thermometry, far beyond what Medisim's expert possesses. Indeed, until now, Goldberg's

technical acumen has never been challenged, let alone has he been excluded as unqualified.




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III.   Goldberg's Invalidity Opinions Satisfy Rule 702

       Medisim's Motion is merely a desperate attempt to resuscitate the '668 Patent from the

clear and convincing evidence demonstrating its invalidity. In each of Goldberg's invalidity

opinions, he applies the controlling law, including the Court's claim construction, and is fully

qualified to do so. Goldberg's opinions are in sharp contrast to the baseless and legally flawed

opinions of Medisim's technical expert.

       A.       Goldberg Independently Analyzed the FHT-1 Source Code

       Medisim first revisits its argument, already rejected by this Court, that Goldberg should

not be able to mention a report prepared by Mr. Gilliland. Gilliland's report discussed the source

code for Medisim's FHT-1 sold prior to the critical date for the '668 Patent. As it did before,

Medisim claims that Goldberg is merely acting as a conduit for Mr. Gilliland's opinions.

Goldberg, however, independently analyzed the pre-critical date FHT-1 source code. This is

plainly stated in his expert report.3 Several times, Goldberg indicates he has "reviewed the source

code" and even pinpoints his review of "the source code of the calculation() subroutine

(MED016849-856)." He clearly lists the FHT-1 software source code MED016836-898 and the

EEPROM Map PARFHMW2 for NCHMV002 MED016833-35 as references he relied on in

conducting this analysis. Goldberg's opinions based on his own analysis of the relevant evidence

easily pass muster under Rule 702.

       With regard to Goldberg's reference to the Gilliland Report, it is well-established that the

facts forming the basis for an expert's opinions need not be admissible in evidence "[i]f of a type

reasonably relied upon by experts in the particular field." Fed.R.Evid. 703; see also, Louis

Vuitton Malletier v. Dooney & Bourke, Inc., 525 F.Supp.2d 558, 665 (S.D.N.Y. 2007). Indeed,

       3
         There can be no serious doubt that Goldberg, who received both a bachelor's and
master's degree in electrical engineering and computer science from M.I.T. possesses the
knowledge and experience to analyze source code; and Medisim raises none.

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this Court already rejected Medisim's "conduit" argument and found that Goldberg "is allowed to

rely on other people's work, to some extent he does, but he says he relies on many things, and

you're allowed to rely on other people as long as you yourself have expertise in the field and

reviewed it yourself, and he says he did. So that's my thought on that one." Ex. 3 at 4.

       Medisim's case law is inapt. Medisim's cases present scenarios where an expert relies on

another's findings without familiarity with the underlying supporting facts. That is not the case

here. Indeed the facts in American Home Assurance Co. v. Merck & Co., Inc., 462 F.Supp.2d 435

(S.D.N.Y. 2006), closely parallel the facts here. In American Home, the court stated:

       "[r]egarding American Home's objection to Jervis's testimony to the extent it
       relies on the report of Merck's prior insurance expert (the "Stellwag Report"),
       American Home's concern is overstated." ... "The cases cited by American Home
       ... take issue with an expert relying on or incorporating the findings of another
       expert without familiarity regarding the basis for that expert's findings. Here,
       Jervis reviewed all the underlying materials that informed the Stellwag Report and
       reached similar conclusions. Jervis's report then adds additional observations ...
       there is nothing improper about Jervis incorporating Stellwag's findings in his
       report."

American Home, 462 F. Supp. 2d at 448.

       As with American Home, Goldberg reviewed the same underlying evidence, i.e., the

source code and controller materials. So did Gilliland. Both reached similar conclusions.

Goldberg then added additional observations, including his application of his and Gilliland's

findings to the '668 Patent, and how the FHT-1 met the claimed limitations. See e.g.,




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                                     There is nothing improper about Goldberg's review and

incorporation of Gilliland's findings.

       Medisim's reliance on Jung v. Neschis, 2007 WL 5256966 (S.D.N.Y. 2007) is also

misplaced. In Jung, the Court excluded a substitute expert's reliance on prior expert reports

because of the substitute expert's unfamiliarity with the underlying facts. The Court deemed the

reports prejudicial ,given they were inadmissible due to the prior expert's incompetency and

consisted of opinions formed largely based on the prior expert's "own observations." Jung 2007

WL 5256966 *16. The Court reasoned any reliance would "prejudice Defendants by ... subjecting

them to the testimony of an expert witness they cannot cross-examine." Id.

       There is no prejudice resulting from Goldberg's review of Gilliland's report. Medisim

makes no such claim. Contrary to Medisim's counsel's initial representations to the Court4,

Medisim received Gilliland's report together with the exhibits for Goldberg's opening expert

report, as well as Gilliland's curriculum vitae. As indicated by this Court, Medisim and Dr.

Lipson had the opportunity to read Gilliland's report, critique it and challenge it. Ex. 3 at 10.

Medisim and Lipson, however, decided that they did not need to depose either Goldberg or

Gilliland. Finally, as this Court notes, Medisim has full opportunity to cross-examine Goldberg's

understanding of the FHT-1 source code and the Gilliland report. Id at 11. Medisim has not done

so. Goldberg is not relying on Gilliland's "own observations" but instead has made his own study

of the underlying evidence. Accordingly, Medisim cannot be prejudiced by Goldberg's reference

to the Gilliland report. See American Home, 462 F.Supp.2d at 448.

       Medisim's hearsay arguments are also unavailing. Under FRE 703, "experts can testify to


       4
          "Court [to Medisim's counsel]: ... You misled me by making me think you knew nothing
about what Gilliland did and who he was. First you said you didn't know his qualifications. It
turns out you do. You have a report. I hadn't realized that. In the end I go back to saying he can
say, I did the work, I have an opinion, here is my own expertise." Ex. 3 at 11.

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opinions based on inadmissible evidence, including hearsay." United States v. Mejia, 545 F.3d

179, 197 (2nd Cir. 2008). Medisim makes no assertion that the Gilliland report is hearsay or

inadmissible. Medisim also admits that "the use of such hearsay information from other experts

is appropriate if the testifying expert forms his own opinions by applying his own experience and

a reliable methodology ..." Doc. 60 at 9. In his report, Goldberg clearly applies his own

experience and methodology.

        Finally, Goldberg does not use the Gilliland report to merely bolster his findings.

Bolstering occurs when a party will be prejudiced by an expert claiming that another well-

credentialed non-testifying expert agrees with him. United States v. Tran Trong Cuong, 18 F.3d

1132, 1143 (4th Cir. 1994). The Cuong Court found it prejudicial for an expert to laud the fact

that his results were "essentially the same" as the findings "of a general surgeon who is a close

friend ... also a lawyer ...is well thought of in Northern Virginia" and who "has been president of

the Medical Society." Id. Goldberg, however, makes no reference to Gilliland's qualifications,

credentials or accolades. Indeed, this "is not a case of trying ... to bolster" Goldberg's conclusion

"in order to make" Goldberg's "opinion more believable. See United States v. Turner, 592 F.3d

928, 933-944 (7th Cir. 2007). Rather, it is Goldberg exercising great care in his analysis, and

refers to Gilliland's efforts merely to confirm his results.

        The facts here are square with Turner where the Court allowed the expert statement that

"I reviewed this report that Amanda Hanson generated for the analysis of the chunky material in

Exhibits 1, 2, and 3... and came to the same conclusion based on the information provided that

each of these items contained the same material ..." Id at 934. Similarly, Goldberg reviewed

Gilliland's work and came to the same conclusion. Goldberg does not purport to bolster his

conclusions by claiming that the well-credentialed Gilliland agrees with him. Goldberg's

reference to Gilliland's report was an exercise in prudence and cannot amount to bolstering.


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       The motivation behind Medisim's Motion on this issue appears to be based on the fact

that it's own expert failed or chose not to conduct any source code analysis. This failure to

analyze the source code highlights the unreliability of Lipson's report. This is because it is only

the instructions of the software program that carry out the algorithm that make a general purpose

computer a special purpose machine for carrying out a particular function. See WMS Gaming,

Inc. v. Int'l Game Tech., 184 F.3d 1339, 1348-49 (Fed.Cir. 1999).

       B.      Goldberg's Non-Enablement and Undue Experimentation Opinions Are
               Based on a Correct Legal and Factual Framework

       Medisim quibbles with Goldberg's invalidity opinions related to the failure of the '668

Patent specification to enable the full scope of the invention. Medisim's arguments boil down to a

dispute regarding whether Goldberg's analysis was correct, not whether he has the knowledge

and skill to review the relevant evidence. Such arguments pertain pertains to the weight to be

given to Goldberg's opinions, not whether he is qualified to render such opinions. Medisim's

Motion on Goldberg's non-enablement opinions should be rejected for this reason alone.

       Moreover, Goldberg's non-enablement opinions are based on a correct legal framework.

Goldberg analyzes the relevant Wands factors in describing the extensive quantity and non-

routine experimentation required to make a single sensor thermometer. See In re Wands, 858

F.2d 731, 736-37 (Fed.Cir. 1988). He further discusses the absence of working examples and

guidance in the '668 specification of single sensor thermometers. Doc. 61, Ex. A at 28-29.

       Medisim argues that in order to determine if undue experimentation is required to

practice the full scope of invention, "one looks not only at the disclosures in the patent, but also

information known in the art when the application was filed." Medisim offers no legal support,

yet relies on its bald statement for its argument that one must scour the prior art to see what a

person of ordinary skill in the art may have known. The law does not support Medisim's position.

       The full scope of the claimed invention must be enabled. Sitrick v. Dreamworks, LLC,

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516, F.3d 993, 999 (Fed.Cir. 2008). To be enabling, a specification need not disclose what is

"well known in the art." Genentech, Inc. v. Novo Nordisk, A/S, 108 F.3d 1361, 1366 (Fed.Cir.

1997). "However, that general, oft-repeated statement is merely a rule of supplementation, not a

substitute for a basic enabling disclosure. It means that the omission of minor details does not

cause a specification to fail to meet the enablement requirement." Id. How one calculates deep

tissue temperature    "a body temperature under the skin" based on measurements taken at a

skin surface temperature is hardly a "minor detail." Indeed, Medisim itself argues that the

patentability of the '668 Patent depends on Yarden's purported recognition that to calculate the

core body temperature one must first calculate a deep tissue temperature. Doc. 60 at 12. One

simply cannot rely on the prior art to fill in the gaps in a specification's teachings.

        "[W]hen there is no disclosure of any specific starting material or of any of the
        conditions under which a process can be carried out, undue experimentation is
        required; there is a failure to meet the enablement requirement that cannot be
        rectified by asserting that all the disclosure related to the process is within the skill
        of the art. It is the specification, not the knowledge of one skilled in the art,
        that must supply the novel aspects of an invention in order to constitute
        adequate enablement. Genentech, 108 F.3d at 1366.

A party cannot resort to "the knowledge of a person of ordinary skill to serve as a substitute for

the missing information in the specification." See Alza Corp. v Andrx Pharm., 603 F.3d 935, 941

(Fed.Cir. 2010). There is no requirement that Goldberg survey unrelated prior art. Goldberg's

non-enablement analysis appropriately details the requisite undue experimentation necessary to

practice the full scope of the '668 claims through his consideration of the relevant Wands factors.

See Amgen v. Chugai Pharm. Co., 927 F.2d 1200, 1213 (Fed.Cir. 1991)("it is not necessary that a

court review all the Wands factors to find a disclosure enabling. They are illustrative, not

mandatory. What is relevant depends on the facts ...").

        Medisim next argues that Goldberg must conduct "empirical testing to determine the

quantity and nature of the experimentation required...." Medisim's claim is again without legal


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basis and simply makes no sense. Indeed, such a suggestion incredibly would require an actual

undertaking of the undue experimentation to prove the undue experimentation asserted.

       C.      Goldberg Properly Applied the Court's Claim Construction in his
               Anticipation Invalidity Analysis

       Unlike Lipson, Goldberg applies the Court's claim constructions throughout his expert

reports, including his invalidity analysis. with its desperate arguments, Medisim hopes to distract

the Court from its own expert's blatant departure from the Court's claim construction. Doc. 56 at

2-10. Lipson re-construes "deep tissue temperature" and "core body temperature" and in doing so,

adapts claim constructions expressly rejected by the Court. See Id at 3-4 and 7-10.

       Beyond Medisim's false accusations regarding Goldberg's application of the Court's claim

constructions, Medisim again argues about whether Goldberg's conclusions are correct, not

whether he is qualified to render an opinion. These arguments go only to the weight to be

afforded Goldberg's opinions, not whether they are admissible.

               1.      Invalidity of the '668 Patent In View of the '452 Patent Is Based
                       on the Court's Claim Construction for Core Body Temperature

       Medisim argues that Goldberg did not apply the Court's claim construction for "core body

temperature" in demonstrating that the prior art '452 Patent discloses a calculation of core body

temperature. Medisim's claim is without merit.

       The '452 Patent expressly states that the thermometer described therein calculates a "core

body temperature." Doc. 61, Ex. A at 53. Medisim argues that one cannot assume that the "core

body temperature" disclosed to in the '452 Patent is a pulmonary artery temperature, as "core

body temperature" was construed by the Court. Doc. 60 at 15-16. The context of Goldberg's

opinion indicates that the "core body temperature" in the '452 Patent is indeed pulmonary artery

temperature. Goldberg first states that he analyzed the prior art based on the Court's claim

construction. Doc. 61, Ex. A at 20. Moreover, he understands as a person of ordinary skill in the


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art, that the "gold standard" and the most common meaning for core body temperature is the

temperature of the blood in the pulmonary artery. Doc. 61, Ex. A at 72. Goldberg also notes a

first temperature calculated by the '452 Patent's thermometer, namely "the equilibrium

temperature determined for the surface of the patient," which is then corrected to the stated "core

body temperature." Doc. 61, Ex. A at 53-54. Goldberg explains the '452 Patent's description for

calculating core body temperature. Goldberg clearly explains that "FIG. 22 shows the steps used

in the routine 222 for determining the value for an offset to be used in routine 224 for displaying

the final calculation of the core body value (FIG. 23)... The '452 Patent thus discloses a two-step

process which first calculates a deep tissue temperature and then corrects that deep tissue

temperature to determine core body temperature."5

       Medisim confusingly suggests that in order for Goldberg to have used the Court's claim

construction, that he must literally substitute the words whenever he discusses "calculating."

Such an argument is ridiculous. Goldberg actually uses the Court's language in explicitly

describing how the '452 Patent "determines" the core body temperature. Doc. 61, Ex. A at 53-54.

Accordingly, Goldberg applies the Court's claim construction in his invalidity analysis of the '452

Patent. Medisim's arguments, devoid of reason, have no merit.

                2.     Goldberg Applies The Court's Claim Construction As Part Of His
                       Anticipation Opinions For The FHT-1

       Similar to Medisim's complaints regarding Goldberg's opinions on the '452 Patent,

Medisim devotes much of its arguments about the prior art FHT-1 device on whether Goldberg's


       5
         Medisim's argument is the ultimate case of the pot calling the kettle black. Medisim's
supposed evidence of infringement hinges on the use of the term "core temperature" in K-Jump's
510(k). Doc. 56, Ex. 1 at 30-32. K-Jump's 510(k) never explains that its use of"core temperature"
is pulmonary artery temperature. It does not. K-Jump calibrated its thermometers to oral
temperature and never obtained clinical measurements for blood in the pulmonary artery. Doc.
61, Ex. B at 11, 21, 28-29 and 31. K-Jump's engineer also testified that the reference to "core
temperature" did not mean pulmonary artery temperature. Doc. 61, Ex. B at 31.

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conclusions are correct, not whether he is qualified to render an opinion. Again, such argument

relates only to the weight of the evidence. Other than Medisim's disputes about Goldberg's

conclusions, Medisim incorrectly argues that Goldberg failed to follow the Court's construction

for "deep tissue temperature" or "calculating core body temperature" without a factual basis

                       a.      The FHT-1 Device Calculates Core Temperature

       Goldberg opined that the FHT-1 device sold prior to the critical date for the '668 Patent

meets the "calculating a core body temperature" limitation. Unlike Medisim's expert, Goldberg

followed the Court's claim construction.

       The '668 Patent discloses a preferred embodiment where an algorithm is used by the

processing unit to calculate the "core body temperature." Doc. 61, Ex. E at col. 9, ll. 15-63. As a

matter of law, the scope of the claims is presumed to cover the preferred embodiment. Vitronics

Corp. v. Conceptronic, Inc. 90 F.3d 1576, 1583-1584 (Fed.Cir. 1996). As such, to the extent that

the evidence regarding the FHT-1 device corresponds to the preferred embodiment shown in the

'668 Patent, that is proof of how the FHT-1, sold before the critical date, operated.

       Goldberg states his "review of that software ... confirms that the FHT-1 product meets the

"calculating a core body temperature" limitation for a number of reasons.




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        Goldberg's adherence to the Court's claim construction is also shown by his reliance on

Medisim's admission that the FHT-1 calculated a "core body temperature." Prior to the claim

construction Order, Medisim admitted that the FHT-1 displayed a "core body temperature."

        RFA 38. Prior to May 31, 2005, Medisim offered for sale or sold in the United States a
        digital temple thermometer that included a display to display core body temperature.

        RESPONSE: Medisim objects to the request on the ground that it incorporates language
        from the claims of the '668 Patent and thus is an effort to have Medisim disclose and
        apply its definition of a claim term. The Court has already promulgated a procedure and
        schedule for claim construction in this matter. Medisim further objects to the extent this
        request calls for a legal conclusion, and on grounds of undue burden. (See General
        Objection No. 11). Subject to and without waiving these objections, Medisim answers as
        follows based on its understanding of the claim terms: Admitted.

(Doc. 61, Ex. L). After the claim construction Order, Medisim opted not to supplement. Instead,

Medisim held to its admission that the FHT-1 calculated "core body temperature."

        Medisim now incredibly argues it "had no obligation to review the RFAs (sic) responses

that had been expressly limited to Medisim's understanding of the claim terms for possible

changes to the responses." Doc. 60 at 17. Medisim's assertion is without any support, and it is

legally wrong. The Rules state: "a party is under a duty" to: (1) supplement ... its disclosures ... if

the party learns that in some material respect the information disclosed is incomplete or incorrect

...." and (2) "to amend a prior response to [a] ... request for admission if the party learns that the

response is in some material respect incomplete or incorrect ...." Fed.R.Civ.P. 26(e); see also

House v. Giant of Maryland LLC, 232 F.R.D. 257 (E.D.Va. 2005)("A party who has answered a

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Rule 36 request for admission has a duty to supplement his or her responses.").

       In that several of Medisim's responses hinged on the meaning of claim terms, BestMed

asked that:

       "[t]o the extent these Requests include claim terminology and construction
       relating to the '668 Patent, BestMed requests supplementation of these Requests
       upon issuance of Judge Scheindlin's Claim Construction Order. Based on our
       discussions, it is our understanding that Medisim's responses to other Requests for
       Admission that included claims to be construed by the Court were based on
       Medisim's constructions. We request that after the Court issues its claim
       construction decision that Medisim review its responses and supplement if
       necessary."

(See Ex. 7). After the claim construction Order, BestMed reminded Medisim of its duty to

supplement: "[t]o the extent necessary, please supplement responses to these Requests in

accordance with the Court's Claim Construction Order. Any response to a Request containing

claim terminology from the '668 Patent that is not supplemented will be taken as using the

construction in the Court's Claim Construction Order." Ex. 8. Later BestMed stated, "[w]hereas

the Court's claim construction renders many of Medisim's responses incomplete or incorrect,

Medisim must supplement." Ex. 9. Medisim chose not to supplement, and thus made clear that it

did not consider its responses to be incomplete or incorrect. Goldberg's reliance on Medisim's

admission that the FHT-1 device calculated "core body temperature" is thus appropriate.

                      b.      The FHT-1 Calculates Deep Tissue Temperature

       As before, Medisim devotes almost its entire argument regarding Goldberg's opinions on

whether the FHT-1 device calculated a deep tissue temperature to the weight of the evidence, not

on whether Goldberg is qualified to render an opinion. Medisim's position that Goldberg's

methodology lacks scientific basis, and therefore should be excluded is unfounded.

       Goldberg based his conclusions on the source code for the FHT-1 device as well as

Medisim's own admissions including the teachings of the '668 Patent itself, Medisim's documents

describing the features of the FHT-1, as well as testimony by Mr. Yarden. Medisim does not

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contend that any of such information is irrelevant to the operation of the FHT-1. Rather, Medisim

merely disagrees with Goldberg's conclusions based on the evidence. Such disputes go to weight

and can be addressed by way of cross-examination.

       With regard to the source code for the FHT-1, Goldberg explains that he "reviewed the

source code of the calculation() subroutine (MED016849-856) ..." and "an analysis of the FHT-1

software, as well as other evidence, all show that the FHT-1 product comprised 'a processing unit

configured to ... calculate a deep tissue temperature..." Doc. 61, Ex. A at 42.




       Goldberg's conclusion is further supported by Medisim's admission that its "R.A.T.E."

technology is described in the '397 Patent. Ex. 5. Goldberg explains:

        "[t]he '397 Patent discloses a device which calculates a deep tissue temperature
       according to measured heat flux and discloses an algorithm based on heat
       conduction physics for computing a deep tissue temperature ... The heat
       conduction physics described in the '397 Patent begins with the inventors'
       restatement of the well-understood one-dimensional conductive heat transfer
       equation with no heat sources: ... This equation basically states that the specific
       heat of a material times the rate of change of temperature is equal to the difference
       between the heat flux at the inlet and the outlet (the '397 Patent 1:66-67). An
       equivalent representation of the one-dimensional heat transfer equation appears in
       many textbooks ... The rest of the analysis at 1:65-2:53 follows from the basic
       equation, which is rewritten in finite difference equation form and simplified."

(Doc. 61, Ex. A at 12). He reasons: "because the FHT-1 product used R.A.T.E. technology and

utilized the '397 heat flux algorithm, the FHT-1 product did calculate a deep tissue temperature,

Tavg" as described in the '668 Patent. Doc. 61, Ex. A at 41. This is because the '668 Patent's

teaching of calculating deep tissue temperature is the '397 Patent's algorithm.

       In addition, Goldberg relied on Medisim's own documentation expressly touting the

ability of the FHT-1 to calculate "deep tissue temperature." Ex. 6. Moreover, Goldberg relies on

admissions by Yarden that the FHT-1 calculates what amounts to a deep tissue temperature.


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       Goldberg further explains, based on his education and experience in human monitoring,

that the physics associated with this heat flow calculation is a calculation of a deep tissue

temperature. Doc. 61, Ex. A at 12-13, 39 and 44-45. Again, while Medisim may disagree with

Goldberg's analysis, reliance on physics cannot possibly fail to pass muster under Rule 702.

       Medisim's argument that Goldberg equates Tavg and                 to be the same rings

hollow, and merely another attempt to mislead this Court. Goldberg explains two separate

analyses analysis of the '397 heat flux algorithm calculating "Tavg" as recited in the '668 Patent;

and analysis of                               recited in the FHT-1 source code.

             Goldberg's Two Deep Tissue Temperature Analyses Related To "Tavg"
 Analysis of '397 Patent calculating "Tavg" as          Analysis of
           recited in the '668 Patent                     recited in the FHT-1 source code
 Medisim admits that the "R.A.T.E."                 Goldberg explains
 technology is described in the '397 Patent as
 used in the FHT-1. Ex. 5.

 Goldberg explains that "because the FHT-1       Goldberg further explains
 product used R.A.T.E. technology and
 utilized the '397 heat flux algorithm, the FHT-
 1 product did calculate deep tissue
 temperature, Tavg." Doc. 61, Ex. A at 41.
 Goldberg explains the '397 Patent heat flux
 algorithm is used in the '668 Patent to
 calculate deep tissue temperature, denoted as
 Tavg. Doc. 61, Ex. A at 41 and Doc. 61, Ex.
 E at col. 9, ll.5-63.



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Thus, the FHT-1 source code demonstrates a calculation of deep tissue temperature. Goldberg

explains that "Tavg" represents is a deep tissue temperature in the '668 Patent. By contrast, the

source code for the FHT-1 refers to                                          as representative of

deep tissue temperature. He never equates these two           values as Medisim suggests.

IV.    Goldberg's Opinions Concerning Inequitable Conduct are Appropriate

       Medisim's arguments for excluding Goldberg's inequitable conduct analysis can be

categorized either as specious misstatements of the law or a failure to read Goldberg's report.

       Materiality in the context of an inequitable conduct analysis is a "but for" standard.

Therasense, Inc. v. Becton, Dickinson and Company, 649 F.3d 1276, 1291 (Fed.Cir. 2011). As

such, Goldberg's materiality analysis dovetails with his invalidity opinions.

       Medisim does not contend that Goldberg's materiality determinations are incorrect.

Rather, Medisim argues only that Goldberg failed to consider whether the prior art was

cumulative, whether Goldberg's cited prior art was considered by the patent examiner, and

whether Medisim has a duty of candor to the Patent Office. None of Medisim's quibbles actually

relate to the question of "but for" materiality, which is the subject of Goldberg's opinions. Worse

yet, Medisim's arguments are simply wrong as a matter of fact, law, or both.

       Goldberg expressly states several times in his report that the '436 Patent and the '452

Patent are not cumulative to the prior art that was before the Examiner. "[T]he '436 Patent to

Pompei is not cumulative of the art that was before the examiner during the prosecution of the

'668 Patent because, unlike the prior art of record, the '436 Patent discloses a device and method

for calculating a deep tissue temperature, and then correcting this first temperature for a core

body temperature. Doc. 61, Ex. A at 18. "[T]he '452 Patent is not cumulative of the art that was

before the examiner during the prosecution of the '668 Patent ..." Id. "As mentioned above, the

'452 Patent is not cumulative of the art that was before the examiner during the prosecution of


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the '668 Patent." Id at 42. "As mentioned above, the '436 Patent is not cumulative of the art that

was before the examiner during the prosecution of the '668 Patent." Id at 68. Medisim apparently

failed to actually read Goldberg's report before levying its false accusation.

       With regard to Medisim's argument that its failure to disclose the pre-critical date sales of

the FHT-1 device is somehow excused by its disclosure of a provisional application allegedly

describing the FHT-1 is unavailing. First, the provisional application clearly does not describe

the FHT-1 device. Rather, the provisional application is directed to "using IR radiation reading

and use of disposing a contact surface in the form of a patch on the measured body surface." That

is not a description of the conductive FHT-1 device. Second, the provisional application is not

even prior art in that it was not "described in a printed publication in this or a foreign country or

in public use or on sale in this country, more than one year prior to the date of the application for

patent in the United States." 35 U.S.C. §102(b). Thus, even if the provisional application

disclosed the FHT-1, the Examiner could not have applied it as prior art for invalidity purposes.

Indeed, Medisim's claim that the provisional application disclosed the FHT-1 would only further

demonstrate Medisim's intent to defraud the Patent Office. It would show Medisim disclosed the

description of FHT-1, but concealed the facts that establish it as prior art.

       Medisim's argument that Goldberg believes Medisim, the organization, has a duty to

disclose is a red herring. Goldberg clearly states "that applicants for patents have a duty to

disclose information known to them which is material to patentability to the PTO. It is my

opinion that the applicant of the '668 Patent failed to disclose material information to the PTO

of which he was aware ..." Doc. 61, Ex. A at 18-19. Indeed, Goldberg discusses emails from Ilan

Vadai to Yona Sasson explicitly ordering the '436 Patent and the '452 Patent, thereby

demonstrating the applicant's, Yarden's, knowledge of these patents. This Court already

expressed that "... a trier of fact could draw an inference that because Vadai conducted a search, a


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micropat search that revealed these two patents, and he did this all the time at Yarden's request

and it was his practice to share the results with Yarden, I think a jury could draw an inference

from that." Ex. 10. Medisim's argument should be given no weight.

       Medisim argues, once again without precedent, that failure to consider an Examiner

EAST Search History listing the '452 Smith and the '436 Pompei Patents as search terms are

grounds for Goldberg's exclusion. This assertion is legally wrong. In order for a reference to be

deemed to have been considered by the Patent Office, the patent examiner must list the particular

reference and place his initials to indicate that he or she has considered the reference. Bristol-

Myers Squibb Company v. Rhone-Poulenc Rorer, Inc., 326 F.3d 1226, 1235-1236 (Fed.Cir.

2003); see also, MPEP § 717.05. In Bristol Myers, the Federal Circuit held that if an examiner

had considered an article that appeared in a search report, he would have initialed and dated the

search report and the article in keeping with regular performance of his duties. Id. Because the

examiner did not initial and date the search report or article, there was no factual basis to support

the position that the examiner considered the article. Id. A virtually identical situation exists here.

The '452 Patent and the '436 Patent are found as search terms, but there is no indication that the

examiner considered these references. If he had, under Patent Office normal procedures, he

would have initialed and dated the search history listing or the references thereon. He did not.

Thus, there is no evidence to support Medisim's contention.

V.     Goldberg's Noninfringement Opinions Easily Pass Muster Under Rule 702

       Medisim offers two bases for its argument for striking Goldberg's noninfringement

opinion. First, Medisim argues that Goldberg failed to consider 510(k) submissions in his

analysis. Medisim then argues that Goldberg did not follow the Court's claim construction for

"calculating a core body temperature." Both of Medisim's arguments are utter nonsense and

exemplify the absurdity of Medisim's entire Motion. Unlike Medisim's technical expert,


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Goldberg actually examined the best evidence pertaining to the operation of the Accused

Products in formulating his opinions, namely, the source code for the thermometers.

       With regard to the 510(k) submissions, Goldberg specifically lists the K-Jump 510(k)

submissions in his list of references. See Doc. 61, Ex. B at 55. Thus, Medisim's claim that

Goldberg refused to consider such information is pure folly. Goldberg even expressly discussed

the K-Jump 510(k) submissions and provides reasoning for why he did not consider them a

reliable source of information regarding how the Accused Products actually functioned.

       Goldberg explains that the primary purpose of 510(k) process is to demonstrate to the

FDA that "a) a device which in intended to be marketed in the United States is substantially

equivalent to a so-called "predicate" device and b) that the device intended to be marketed is safe

and effective." Doc. 61, Ex. B at 17. In support, Goldberg cites Arthur K. Yellin's Article

entitled "What are 510(k) clearance and pre-market approval:"

       "The process is somewhat analogous to the "generic" drug concept in that
       Premarket Notification is used to obtain marketing clearance for a device that is
       "substantially equivalent" in safety and effectiveness to another lawfully marketed
       device or to a standard recognized by the FDA when used for the same intended
       purpose(s). Note that the concept allows for technological advancement; the
       new device does not have to be manufactured from the same materials or
       perform its intended purpose using the same technology. In order to be eligible
       for 510(k) clearance, the new device must exhibit roughly the same safety and
       effectiveness characteristics as the "predicate" device to which the new one is
       being compared." Doc. 61, Ex. B at 17-19.

Goldberg also explains, based on his own experience in filing 510(k) submissions, that the

manufactured device does not have to operate as indicated in the 510(k). Doc. 61, Ex. B at 17-19.

       Goldberg also considered the reliability of the K-Jump 510(k). Goldberg discussed the

510(k) with Mr. Emory Hsu, a K-Jump engineer, who confirmed that portions of the 2007 FDA

510(k) did not accurately reflect the operation of the Accused Products. Doc. 61, Ex. B at 26. Mr.

Hsu explained at his deposition that the K-Jump 510(k)s include formulas and other descriptions

that do not describe the operation of the Accused Products. Ex. 4 at 101-103. Mr. Hsu explained

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that some formulas merely describe the derivational theory of development but are not

implemented in the actual operation and functionality of the device. Id. Mr. Hsu further testified

that the flow chart in the 510(k) submission did not accurately describe the functioning of the

Accused Products, and that K-Jump never created a flow chart that "accurately depicts how either

the 2200, 2201, or 2210 products work." Id at 141. Medisim was fully aware of Mr. Hsu's

testimony about the 510(k) submissions and their lack of accuracy in describing the Accused

Products. Goldberg also points to several other examples demonstrating the K-Jump 510(k)'s

inaccurate description of the Accused Products. For example, the 2007 510(k) describes a

thermometer having two temperature sensors, yet the Accused Products only have a single

sensor. Doc. 61, Ex. B at 12. The 510(k) also describes a thermometer using a Sonix IC

SN8P1909 microprocessor, whereas the Accused Products use different processors, namely, the

SN8P1919 and the SN8P1927 processors. Doc. 61, Ex. B at 20 and 27. These differences are of

little consequence to the FDA given it does not effect the product's safety but have significant

implications in the litigation environment.

       Given the purpose of a 510(k), the inaccuracies in K-Jump's 510(k), and lack of

correspondence between the Accused Products and technical description in the 510(k)'s,

Goldberg decided not to rely on them. This is because, in his opinion, the 510(k) is unreliable at

best and irrelevant at worst. Doc. 61, Ex. B at 17-20. Whether Goldberg's decision was correct

may be subjected to cross-examination, but in no event offers a reason to exclude his opinions.

       Medisim insists Goldberg must rely on the K-Jump 510(k). This extraordinary position is

ostensibly an attempt to conceal Lipson's fatal neglect to study the Accused Products's source

code. Each claim requires a "processing unit" configured to determine "time-dependent

parameters of temperature change"and calculate "deep tissue temperature" and "core body

temperature." The processing unit of the Accused Products is a general purpose computer that


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functions according to the instructions in the embedded source code. See WMS Gaming, 184 F.3d

at 1348-49. Failure to analyze the source code makes it impossible to determine the calculations

conducted at the processing unit and required by the claims. Accordingly, the only reliable

methodology available is a review of the source code controlling the Accused Products a

methodology Medisim and Dr. Lipson carelessly omit.

       Medisim's attempt to paint Goldberg into a corner for relying on Medisim documents and

other references in supporting his FHT-1 analysis is unavailing. Once again, Goldberg analyzes

the source code controlling the FHT-1 device and determines the device practices the '668 claim

limitations. Goldberg's further supports this conclusion by citing, inter alia, Medisim's admission

that "[b]y utilizing the conductive R.A.T.E.TM technology, FHTTM thermometers measure deep

tissues temperature." This supports Goldberg's source code analysis and is clearly appropriate.

Accordingly, any attempt to preclude this portion of Goldberg's report lacks any merit.

       Medisim's last-ditch attempt claims Goldberg fails to "analyze whether this ... oral

equivalent temperature is an 'approximation' of pulmonary artery temperature." An oral

temperature is a peripheral temperature and "there is a poor correlation between ... peripheral

temperatures with the core body temperature." Doc. 45 at 33. Accordingly, an oral equivalent

temperature cannot be an approximation of the temperature of blood in the pulmonary artery.

Notwithstanding, Goldberg explains "conflating oral equivalent temperatures with core body

temperature under the assertion that oral equivalent temperature is an approximation of core body

temperature is contrary to any understanding in the field. Measured core body temperatures

typically exceed correctly measured oral temperatures by about 0.4 C, and such a deviation

would not fall constitute acceptable approximation." Doc. 61, Ex. B at 22-23. As such, Goldberg

clearly explains why oral temperatures are not acceptable approximations of pulmonary artery

temperatures. Once again, Medisim's disingenuous allegations are without merit.


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VI.    Conclusion

       Goldberg's academic training in electrical engineering and computer science at the

Massachusetts Institute of Technology, as well as his decades of hands-on experience in

thermometry, including conductive thermometry, make him eminently well-qualified as an expert

on the technical issues in this lawsuit. Goldberg's technical knowledge and experience will assist

the trier of fact to understand the evidence to be presented in this lawsuit. Goldberg's expert

reports are based on his own observation and analysis, is the product of established and well-

known physical phenomena of heat conduction that have been reliably applied to documented

facts in this case, and fully adhere to this Court's claim construction Order. In contradistinction,

Medisim's attacks on Goldberg's report lack factual or legal support, are internally inconsistent,

and overlook the Court's claim construction Order.

       For the foregoing reasons, BestMed respectfully requests this Court deny Medisim's

Motion to disqualify Mr. Goldberg or to strike his expert reports or any portion thereof.



                                       Respectfully submitted,

Dated: December 20, 2011               By: /s/ Joseph M. Kuo
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                               CERTIFICATE OF SERVICE
       The undersigned hereby certifies that on December 20, 2011, a copy of the foregoing
BESTMED, LLC'S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF'S
MOTION TO DISQUALIFY BESTMED'S PROPOSED EXPERT, JACK GOLDBERG,
OR, IN THE ALTERNATIVE, STRIKE PORTIONS OF GOLDBERG'S REPORT was
electronically filed with the Court via ECF which thereby served an e-mail notice upon the
attorneys listed below:


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                          /s/ Joseph M. Kuo
